       Case 1:24-cr-00091-GHW              Document 39    Filed 04/16/24     Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                                Case No. 1:24-cr-00091 (GHW)

                              Plaintiff,                 NOTICE OF MOTION
              -v-

ANDREY KOSTIN et al.,

                              Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

Support of Defendant Vadim Wolfson’s Motion to Modify Filter Team Procedures and for

Injunction Against Release or Review of Records Pending Ruling, the Declaration of David C.

Rybicki, dated April 16, 2024, and all other papers and proceedings herein, Defendant Vadim

Wolfson will move this Court, before the Honorable Gregory H. Woods, United States District

Judge for the Southern District of New York, located at 500 Pearl Street, New York, New York

10007, on the date and time to be set by the Court, for an Order Modifying Filter Team Procedures

and for Injunction Against Release or Review of Records, and granting Defendant Vadim

Wolfson such other fair and equitable relief as may be appropriate.

Dated: April 16, 2024
                                              /s/ David C. Rybicki
                                              David C. Rybicki
                                              Michael C. Harper
                                              Robert S. Silverblatt
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